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18                                   UNITED STATES DISTRICT COURT
19
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
20

21   GAVIN NEWSOM, in his official capacity
     as Governor of the State of California;         Case No. 3:25-cv-04870-CRB
22   STATE OF CALIFORNIA,

23                           Plaintiffs,             BRIEF OF THE CITY OF LOS ANGELES
                                                     AS AMICUS CURIAE IN SUPPORT OF
24          v.                                       PLAINTIFFS

25   DONALD TRUMP, in his official capacity          Date: 06/12/2025
     as President of the United States; PETE         Time: 1:30 p.m.
26   HEGSETH, in his official capacity as
     Secretary of the Department of Defense;         Place Courtroom 6-17Fr.
27   DEPARTMENT OF DEFENSE,                          Judge: Charles R. Breyer

28                           Defendants.



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1             INTRODUCTION AND STATEMENT OF INTEREST OF AMICUS CURIAE
2           The actions by the federal government complained of in this litigation – unlawful activation
3
     and deployment of military personnel – are targeted at the City of Los Angeles (“City”), a charter city
4
     with its own highly trained and professional police department, with long established protocols for
5
     crowd control and for requesting and receiving mutual aid and assistance from other law enforcement
6

7    agencies when the need arises. The City covers 469 square land miles and is home to nearly four million

8    people. The protests in the City since last Friday, June 6, 2025 occurred within one square mile of the

9    downtown area of the City and involved, at most a few thousand and, generally, a few hundred
10
     protestors at any given time.
11
            The response of the federal government (“Government”) to this geographically and numerically
12
     limited series of protests, which, at varying times and for varying lengths of time, turned violent and
13
     destructive, was to activate or deploy, without the request or even consent of the local and state
14

15   authorities, 4,000 federalized National Guard and 700 United States Marines to the City, the combined

16   total of which is nearly equal to the size of the entire police force for the City of Houston, Texas, a city
17   of two million people. The result of deploying armed military personnel, skilled in warfare against
18
     external enemies, on domestic soil without the training and perspective of the LAPD and other local
19
     law enforcement agencies traditionally charged with protecting civilian populations, was
20
     predictable. The Los Angeles Police Department (“LAPD” or “Department”) is the entity, absent a
21

22   request for mutual aid, with the training and the jurisdiction to manage and balance the individual rights

23   of speech, expression, and assembly together with the commitment to protecting public safety.

24          The mission of the LAPD is to safeguard the lives and property of the people it serves, to reduce
25   the incidence and fear of crime, and to enhance public safety while working with the diverse
26
     communities of Los Angeles to improve their quality of life. The Department seeks to work in
27

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 1   partnership with the people and organizations within its communities to solve local problems that affect
 2   public safety.
 3
             In keeping with its status as the police department of the second largest city in the nation, LAPD
 4
     has great familiarity in handling large-scale pre-planned demonstrations, protests, and events, which
 5
     occur regularly and with great frequency City-wide. The history of peaceful protests and
 6

 7   demonstrations in the City has allowed the Department to form strong relationships with frequent

 8   protest organizers in order to facilitate peaceful demonstrations. But, even the most peaceful planned

 9   events can bring out those who would seek to commit violence. The 2024 Los Angeles Dodgers World
10   Series Championship parade, which saw more than 200,000 joyous fans packed into the same one
11
     square mile where the current protest events that are the subject of this litigation are occurring, is
12
     instructive. That day, alongside the hundreds of thousands of celebrating fans, were some violent and
13
     hostile crowds who burned a city bus, looted stores, and threw dangerous objects at LAPD. It would
14

15   be untenable to suggest that those actions of a few among so many amounted to a rebellion against the

16   City.

17           The Department also has experience in dealing with spontaneous, unpermitted protests, such as
18
     the large mass protests that occurred in Los Angeles and other major cities around the country in May
19
     and June, 2020, following George Floyd’s murder. There were many lessons learned during those
20
     demonstrations and civil unrest, and the Department has since further trained its personnel on updated
21
     crowd management and crowd control techniques in order to facilitate peaceful protests and attempt to
22

23   de-escalate tense and even violent and hostile situations, where those who would seek to cause havoc

24   hide under a cloak provided by so many peacefully exercising their First Amendment rights.
25           The protests over the past weekend are no exception. The Government’s deployment of the
26
     National Guard and Marines is legally baseless and complicates the City’s ability to ensure public
27
     safety. The Government’s claimed authority for such a large-scale mobilization of troops was the
28

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 1     assertion that the violent acts amounted to a “rebellion against the authority of the Government.” But
 2     the vast majority of the violence that did occur were targeted at private property and state and local law
 3
       enforcement, not the Government or its property. These incidents come nowhere close to the requisite
 4
       “rebellion” under 10 U.S.C. § 12406(2)—the Government’s purported statutory authorization for its
 5
       actions.
 6

 7               The City has a critical interest in public safety within its boundaries and in preserving the

 8     constitutional rights of its residents to peacefully assemble and speak freely. Over the last few days,

 9     the City has worked tirelessly to preserve both principles by quelling violent and destructive outbursts
10     while maintaining a space for the exercise of First Amendment rights, even when those First
11
          Amendment rights directly criticized the City. The Government’s military presence undermines those
12
          principles and has sown chaos in Los Angeles, creating serious and potentially irreparable harm.
13
                 The National Guard, for example, has, while standing on the City’s streets and sidewalks,
14

15     deployed tear gas, pepper spray, and other similar munitions on protestors. In other cases, the deployed

16     troops have detained Los Angeles residents. The military’s unsought and dangerous deployment in

17        downtown Los Angeles should not be allowed to stand. The City urges the Court to grant the
18
          Governor’s request for a temporary restraining order and allow the City to focus on fulfilling its duties
19
          to protect its residents and preserve their freedoms.
20
                                                       ARGUMENT
21
     I.      The Deployment of the Military Has Impeded the City’s Ability to Carry out its Traditional
22

23           Police Powers.

24                   A. The City—not the military—has expertise in domestic law enforcement.
25               Our federalist form of government leaves local policing to local governments—not the federal
26
          government and certainly not to the military. See Federalist No. 39 at 245 (“[T]he local or municipal
27
          authorities form distinct and independent portions of the supremacy, no more subject, within their
28

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 1   respective spheres, to the general authority than the general authority is subject to them, within its own
 2   sphere.”). Under the Tenth Amendment, state and local governments retain their sovereign authority
 3
     to “perform many of the vital functions of modern government—punishing street crime, running public
 4
     schools, and zoning property for development, to name but a few.” NFIB v. Sebelius, 567 U.S. 519,
 5
     535–36 (2012).
 6

 7          Federalism “ensure[s] that powers which ‘in the ordinary course of affairs, concern the lives,

 8   liberties, and properties of the people’ [are] held by governments more local and more accountable than

 9   a distant federal bureaucracy.” Id. at 536 (quoting The Federalist No. 45, at 293). That is for good
10   reason. Consistent with the unbroken tradition of allowing local governments to police their
11
     jurisdictions, Los Angeles and the LAPD have developed an expertise in the nuisances of local
12
     policing—controlling and (when necessary) dispersing crowds, managing protests, apprehending those
13
     who break the law, and keeping people safe. The LAPD’s policies are rooted in a commitment to
14

15   constitutional policing and a recognition that the City’s communities are safer when officers maintain

16   a relationship of trust, respect, and cooperation with the City’s residents.

17          The LAPD devotes significant resources to prepare officers to respond effectively to protests
18
     that have escalated to violence, while paying due regard to constitutional freedoms. In the last few
19
     years alone, the LAPD has launched and implemented an initiative to protect Los Angeles by
20
     conducting quarterly and yearly exercises to practice managing large-scale First Amendment
21
     assemblies. LAPD, Strategic Plan 2023 & Beyond 12–13, https://t.ly/TAECl. That initiative also
22

23   includes engaging the public to inform them of best practices, and to solicit feedback to “better suit the

24   community’s stated needs.” Id. at 12. These measures, among many others, ensure not only that the
25   LAPD is prepared to manage large assemblies, but also that the community feels comfortable placing
26
     its trust in the LAPD.
27

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 1          The military, in contrast, is trained in combat and warfare. Mark Nevitt, The Military, the
 2   Mexican Border, and Posse Comitatus, Just Security (Nov. 6, 2018). And the “domestic use of the
 3
     military can . . . be corrosive—to the moral of the troops involved, all of a sudden, in policing their
 4
     own; to the relationship between local/state governments and the federal government; and to the
 5
     broader relationship between the military and civil society.” Steve Vladeck, Five Questions About
 6

 7   Domestic Use of the Military, One First (Apr. 14, 2025). That is why Congress has prohibited the use

 8   of the military “as a posse comitatus or otherwise to execute the laws” except in extraordinary

 9   circumstances. 18 U.S.C. § 1385.
10          B. There was and is no rebellion in the City, nor is there any other circumstance that
11
                authorized the unprecedented deployment of military forces without the consent of
12
                local authorities.
13
             Starting on June 6, the Government launched a series of immigration raids in the City and
14

15   County of Los Angeles without providing any notice to the LAPD or local officials. Rather than allow

16   LAPD to keep the peace from the very start of those raids, the Government chose not to notify the

17   Department of even the possible need to prepare for protests that would predictably result from their
18
     escalation of immigration raids in the City to targeting immigrants without criminal histories for
19
     detention and arrest. Instead, the Government fanned the flames of unrest and fabricated a story about
20
     the Department’s failure to respond to a call for assistance in a timely manner, which became the
21
     President’s basis, in part, for the federalization of the National Guard.
22

23          The President then issued a memorandum authorizing the deployment of the California National

24   Guard—over the objections of the Governor. In it, the President declared that “[t]o the extent that
25   protests or acts of violence directly inhibit the execution of the laws, they constitute a form of rebellion
26
     against the authority of the Government of the United States.”
27

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 1          Unsurprisingly, after the Government’s militarization in downtown Los Angeles, tensions
 2   between demonstrators and law enforcement rose dramatically on June 8. As noted above, the National
 3
     Guard moved onto a public City street to deploy tear gas, pepper spray, and other similar munitions on
 4
     nearby protestors. The presence of armed forces stationed outside federal buildings and on the streets
 5
     and sidewalks of the City precipitated skirmishes between law enforcement and demonstrators. Over
 6

 7   the course of that day, LAPD deployed 580 officers to the one-square mile area for crowd control and

 8   crime suppression. Even at the peak of the unrest, in the early evening, on June 8 the consistent efforts

 9   of the Department, with those of the California Highway Patrol and the Los Angeles County Sheriff,
10   put an end to the day’s unlawful assemblies, looting, vandalism, and other violence, all without
11
     intervention by the federal troops.
12
            Nevertheless, on the morning of June 9, the President posted on social media that his
13
     administration “made a great decision in sending the National Guard to deal with the violent, instigated
14

15   riots in California.” He claimed that if the Government “had not done so, Los Angeles would have

16   been completely obliterated.” But contrary to the President’s assertions, the National Guard did not

17   provide any operational support to LAPD with respect to the June 8 demonstrations.
18
            Adding insult to injury, the Government—again without providing any notice to the City—
19
     posted on social media that it would deploy 700 Marines and an additional 2,000 members of the
20
     National Guard to Los Angeles. After learning about the possible deployment through news sources
21
     and social media, the LAPD issued a press statement stating that “the possible arrival of federal military
22

23   forces in Los Angeles—absent clear coordination—presents a significant logistical and operational

24   challenge for those of us charged with safeguarding the city.” LAPD News Release (June 9, 2025),
25   https://t.ly/_U7vP. The Department also explained that, unlike the military, the LAPD and its local law
26
     enforcement     partners    “have      decades    of       experience   managing    large-scale    public
27

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 1      demonstrations.” Id. The lack of “open and continuous lines of communication” only added to the
 2      confusion and escalation of the situation. Id.
 3
                Since the Government’s deployment of the military, the City and the LAPD have been using
 4
       effective policing tools to prevent protests from escalating any further. Among other things, on June
 5
        10, the City imposed a curfew between 8 PM and 6 AM for its downtown area. As the Department
 6

 7      explained, the curfew is necessary to protect lives and safeguard property after days of escalating

 8      violence and unlawful behavior. That curfew has been largely successful, quelling protests and

 9     calming tempers inflamed by the Government’s arrival. See Noah Goldberg et al., Bass Enacts Curfew
10     in Downtown L.A. to Stem Chaotic Protests, L.A. Times (June 10, 2025). But the risk of further chaos
11
       is unlikely to abate until the Government withdraws the military from the City. That, in turn, is unlikely
12
       to happen without this Court’s grant of relief.
13
     II.    This Court May Determine that There Is No “Rebellion” in Los Angeles.
14

15              Because the President’s invocation of 10 U.S.C. § 12406 is unprecedented, no court has

16      adjudicated the bounds of the statute and its meaning, or the meaning of its predecessor statutes. The

17      Government’s Opposition cites to Martin v. Mott, a United States Supreme Court decision from 1827,
18
        arguing that courts should defer to a President’s determinations in this area. But such deference is not
19
        unlimited, 1 and this Court may review whether the predicate conditions set forth in the statute the
20
        President has invoked, 10 U.S.C. § 12406, have been met. Judicial review is especially warranted when
21

22      courts are confronted with the extraordinary and dangerous action of engaging the military on domestic

23      soil and for domestic issues under 10 U.S.C. § 12406.

24

25

26
        1 For example, the Supreme Court made it clear that judicial review may be required to determine whether the Executive
27     deploys troops in bad faith, whether an emergency had been declared or declared properly and whether the deployment was
       required to address the emergency. Sterling v. Constantin, 287 U.S. 378, 400 (1932) (“Such measures, conceived in good
28     faith, in the face of the emergency, and directly related to the quelling of the disorder or the prevention of its continuance,
       fall within the discretion of the executive in the exercise of his authority to maintain peace.”) (emphasis added).

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 1          Recent jurisprudence surrounding President Trump’s use of the Alien Enemies Act (“AEA”) is
 2   instructive. As with 10 U.S.C. § 12406, the AEA grants extraordinary powers to the President when
 3
     certain conditions are present. The AEA allows the President to apprehend and remove all “alien
 4
     enemies” when there is an “invasion or predatory incursion … against the territory of the United States
 5
     by any foreign nation or government.” 50 U.S.C. § 21. In a spate of cases challenging the President’s
 6

 7   invocation of the AEA, courts—including the Supreme Court—have acknowledged the necessity of

 8   judicial review, and in particular scrutinizing the predicate terms, including “invasion” or “predatory

 9   incursion,” that trigger the statute. See, e.g., A.A.R.P. v. Trump, 145 S. Ct. 1364 (2025); J.A.V. v. Trump,
10   No. 1:25-CV-072, at *10 (S.D. Tex. 2025). Indeed, “conditional questions—the legal meaning of war,
11
     invasion and predatory incursion—are well within courts’ bailiwick.” J.G.G. v. Trump, No. 25-5068,
12
     at 13 (D.C. Cir. Mar. 26, 2025) (Henderson, J., concurring).
13
            Here, this Court faces a straightforward question: Has the President met the specific
14

15   requirements necessary to invoke 10 U.S.C. § 12406? The answer is clearly no.

16          Using standard tools of statutory interpretation — including textual analysis, historical context,

17   and common usage at the time of drafting — it is plain that the President’s memorandum does not
18
     establish the predicates required to deploy the National Guard under this provision. Again, the AEA
19
     cases are illustrative: Federal district and appellate courts throughout the country have relied on
20
     contemporaneous understanding, dictionary definitions, and common usage to define “invasion” and
21
     “predatory incursion.” In doing so, courts have found that the President’s assertions did not meet the
22

23   definitions of those terms. See, e.g. J.A.V. v. Trump (evaluating ordinary and historical meaning of

24   “predatory incursion” under the 1798 Act). This Court may engage in the same process—analyzing the
25   meaning of “rebellion,” and determining whether the President’s memorandum sufficiently satisfies
26
     the requirements of 10 U.S.C. § 12406. As previously demonstrated, the President’s memorandum and
27
     the protests on the ground in Los Angeles did not meet the legal definition of “rebellion.”
28

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 1          The Government’s Opposition attempts to misdirect the Court away from a straightforward
 2   review of whether the statutory prerequisite is met by selectively and misleadingly quoting the statute
 3
     to argue that it grants the President the power to “consider” whether there is a “rebellion” to warrant
 4
     calling upon the National Guard. See Opp. Br. at 11 (“today’s Section 12406 vests the President with
 5
     statutory authority to call forth the National Guard ‘as he considers necessary to repel the invasion,
 6

 7   suppress the rebellion, or execute [the] laws’ of the United States.”) (emphasis added). But that is not

 8   what the statute says. Rather, the statute allows the President to “call into Federal service members

 9   and units of the National Guard of any States in such numbers as he considers necessary to…suppress
10   the rebellion.” 10 U.S.C. § 12406 (emphasis added). The discretion the President enjoys is to determine
11
     how many troops are needed to quell a rebellion. The President does not have the unchecked power to
12
     determine that a rebellion, or even the danger of a rebellion, exists where it obviously does not. That
13
     is an objective condition precedent that must exist for 10 U.S.C. § 12406 for the President to exercise
14

15   discretion under this provision.

16          Section 12406 cannot be invoked on speculation, political expediency, or rhetorical flourish. It

17   demands a showing of actual rebellion—a high threshold that was simply not met in this instance, even
18
     as a prima facie matter. The Trump memorandum presented no identification of actual rebellion; its
19
     language was rhetorical, not legal or factual; and does not represent the realm of “honest judgment”
20
     where deference is appropriate. To the contrary, even the memorandum itself failed to reach a definitive
21
     conclusion on the predicate conditions needed for the state to apply. The Court should therefore
22

23   reaffirm that § 12406 demands evidence of an actual rebellion that requires the military, not a mere

24   response to civil protest, and reject this egregious use of federalization as a legally unfounded action
25   that caused immense injury to the City of Los Angeles and continues to harm the City and its residents.
26

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 1                                              CONCLUSION
 2
            For the reasons stated above, the City of Los Angeles supports the State of California’s
 3
     application for a temporary restraining order.
 4

 5
     DATED: June 12, 2025                                  Respectfully submitted,
 6
                                                                                                   .
 7

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